Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page11ofof77
Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page22ofof77
Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page33ofof77
Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page44ofof77
Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page55ofof77
Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page66ofof77
Case
 Case1:21-cr-10148-GAO
      1:21-cr-10148-GAO Document
                         Document22-1 Filed06/08/21
                                  26 Filed  05/13/21 Page
                                                      Page77ofof77
